AO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation



                                      UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
                                                                         (For Revocation of Probation or Supervised Release)
         V.                                                              (For Offenses Committed On or After November 1, 1987)



MELISSA ANNETTE SW AIM                                                   Case Number: DNCW 505CR000009-026
                                                                         USM Number: 19937-058

                                                                         Elizabeth Blackwood
                                                                         Defendant’s Attorney


THE DEFENDANT:

X        admitted guilt to violation of condition(s) 2, 3, & 4 in the original petition & 1 & 2 of the addendum of the term of
         supervision.
         W as found in violation of condition(s) count(s)           After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                                Date Violation
 Violation Number                  Nature of Violation                                          Concluded

 2                                 Failure to report to probation officer as instructed         9/9/11

 3                                 Drug/alcohol use                                             6/13/11

 4                                 Failure to comply with drug testing/treatment                8/30/11
                                   requirements

 1                                 New law violation                                            8/17/11

 2                                 New law violation                                            9/22/11

        The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        Violation number 1 of the original petition and violation numbers 3 & 4 of the addendum are dismissed upon
         motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant’s economic circumstances.


                                                                         Date of Imposition of Sentence: February 6, 2012

                                                                             Signed: February 9, 2012




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Defendant: MELISSA ANNETTE SW AIM                                                                        Judgment-Page 2 of 2
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of FOURTEEN (14) MONTHS.

Defendant is to be given credit for time served since 1/6/12.

NO TERM OF SUPERVISED RELEASE TO FOLLOW TERM OF IMPRISONMENT.

X        The Court makes the following recommendations to the Bureau of Prisons:

That defendant be moved to the Mecklenburg County Jail or designated to a Bureau of Prisons facility as close to
Charlotte, NC, as possible.

X        The Defendant is remanded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                             As notified by the United States Marshal.

                              At___a.m. / p.m. on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                             As notified by the United States Marshal.

                              Before 2 p.m. on ___.

                             As notified by the Probation Office.

                                                                    RETURN

         I have executed this Judgment as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgment.


                                                          ___________________________________________
                   United States Marshal


                                                By: _______________________________________
                                                                 Deputy Marshal




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